Case 1:24-cv-05221-LLS Document7 Filed 07/11/24 Pagelof2
IH-32 Rev: 2014-1

United States District Court

for the

Southern District of New York
Related Case Statement

Full Caption of Later Filed Case:

BEASTIE BOYS, A NEW YORK PARTNERSHIP,
MICHAEL DIAMOND, ADAM HOROVITZ AND DECHEN
YAUCH AS EXECUTOR OF THE ESTATE OF ADAM
YAUCH, DECEASED, EACH INDIVIDUALLY AND
COLLECTIVELY D/B/A BROOKLYN DUST MUSIC

Plaintiff Case Number

24-cv-05221

vs.

BRINKER INTERNATIONAL, INC.,

Defendant

Full tion of Earlier Fil

(including in bankruptcy appeals the relevant adversary proceeding)

BEASTIE BOYS, A NEW YORK PARTNERSHIP,
MICHAEL DIAMOND, ADAM HOROVITZ AND DECHEN
YAUCH AS EXECUTOR OF THE ESTATE OF ADAM
YAUCH, DECEASED, EACH INDIVIDUALLY AND
COLLECTIVELY D/B/A BROOKLYN DUST MUSIC,

Plaintiff Case Number

12 Civ. 6065 (PAE)

vs.

MONSTER ENERGY COMPANY,

Defendant

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IH-32 Rev: 2014-1
Status of Earlier Filed Case:
wv (If so, set forth the procedure which resulted in closure, e.g., voluntary
Closed dismissal, settlement, court decision. Also, state whether there is an appeal

pending.)

Open (If so, set forth procedural status and summarize any court rulings.)

Judgment entered in favor of Plaintiffs on 06/24/2015 (Docket Entry No. 217). Appeal filed on 07/22/2015
(Docket Entry No. 221). Satisfaction of Judgment on 01/15/2016 (Docket Entry No. 233). Appeal Withdrawn on

02/17/2016 (Docket Entry No. 234).

Explain in detail the reasons for your position that the newly filed case is related to the

earlier filed case.
The previous action involved the same plaintiffs seeking to protect the same copyrights and
same rights against unfair competition against other entities who engaged in misconduct

similar to that alleged in the present action.

/s/ Michael S. Lazaroff pate. 1-11-2024

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Signature:

Firm:

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